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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA

    ANN KAISEN,                                  )
                                                 )
                  Plaintiff                      )
                                                 )
           v.                                    ) Case No.: 0:18-cv-62622-DPG
                                                 )
    DYNAMIC RECOVERY SOLUTIONS,
    LLC,                                         )
                                                 )
                Defendant                        )

                         NOTICE OF VOLUNTARY DISMISSAL


    TO THE CLERK:

           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff voluntarily

    dismisses the Complaint with prejudice.




    Dated: January 22, 2019                    BY: /s/ Amy L. Bennecoff Ginsburg
                                               Amy L. Bennecoff Ginsburg, Esquire
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                                               Attorney for Plaintiff
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                                      Certificate of Service

           I hereby certify that on this 22nd day of January, 2019, a true and correct copy of

    the foregoing pleading served via mail to the below:


           Dynamic Recovery Solutions, LLC
           135 Interstate Blvd., Ste 6
           Greenville, SC 29615


                                                  /s/ Amy L. Bennecoff Ginsburg
                                                  Amy L. Bennecoff Ginsburg Esquire
                                                  Kimmel & Silverman, P.C.
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                                                  Attorney for Plaintiff
